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7
8               IN THE UNITED STATES DISTRICT COURT FOR THE
9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    CR. S 2:09-0196 GEB
12             Plaintiff,             )
                                      )    STIPULATION AND [PROPOSED] ORDER
13                                    )    VACATING TRIAL CONFIRMATION
                                      )    DATE, TRIAL DATE, REQUESTING
14                                    )    DATE FOR STATUS CONFERENCE, AND
                                      )    EXCLUDING TIME
15        v.                          )
                                      )
16   MICHAEL LEON WILLIAMS,           )
                                      )
17             Defendant.             )    Hon. Garland E. Burrell, Jr.
                                      )
18
          The parties request that the trial confirmation date of
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     December 9, 2011, and the trial date of January 24, 2012, in the
20
     above-referenced case be vacated and that the date of January 20,
21
     2012, be set for a new status conference.       Additionally, the
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     parties request and stipulate that the time beginning December 9,
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     2011, and extending through January 20, 2012, should be excluded
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     from the calculation of time under the Speedy Trial Act.          The
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     defense attorney has requested the time between now and January
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     20, 2012, for preparation and to interview witnesses.          The delay
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     is due to the defendant’s unavailability due to serious illness
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1    and to Mr. Kmeto’s personal trial schedule.
2         Defendant Williams and the United States submit that the
3    ends of justice are served by the Court excluding such time, in
4    order to permit the counsel a reasonable time to prepare taking
5    into account the exercise of due diligence.         The parties
6    stipulate and agree that the interests of justice served by
7    granting this continuance outweigh the best interests of the
8    public and the defendant in a speedy trial.        18 U.S.C. § 3161(h)
9    and local code T-4.
10                                                Respectfully Submitted,
11                                                BENJAMIN B. WAGNER
                                                  United States Attorney
12
13   Dated: December 8, 2011                  By:/s/ Michael M. Beckwith
                                                 MICHAEL M. BECKWITH
14                                               Assistant U.S. Attorney
15   Dated: December 8, 2011                  By:/s/ Peter Kmeto
                                                 PETER KMETO
16                                               Attorney for defendant
                                                 MICHAEL LEON WILLIAMS
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1
                                         ORDER
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          In case number CR S 2:09-0196 GEB, the time beginning
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     December 9, 2011,, and extending through January 20, 2012, is
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     excluded from the calculation of time under the Speedy Trial Act.
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     The Court finds that the interests of justice served by granting
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     this continuance outweigh the best interests of the public and
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     the defendant in a speedy trial.          18 U.S.C. § 3161(h) and local
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     code T-4.     Furthermore, the trial confirmation hearing date of
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     December 9, 2011, and the trial date of January 24, 2012, are
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     vacated and a status conference is set for January 20, 2012.
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13
     IT IS SO ORDERED.
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15   Dated:    December 8, 2011

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17                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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